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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )
                                                )
               vs.                              )                8:12CR124
                                                )
SHAMUS O’DOHERTY,                               )                   ORDER
                                                )
                      Defendant.                )


         Upon the Defendant’s motion to continue (filing no. 21),


         IT IS ORDERED that the detention hearing is continued to May 17, 2012, at 2:00
p.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
         Since this is a criminal case, the defendant must be present, unless excused by the
Court.
         DATED this 4th day of May, 2012.
                                              BY THE COURT:


                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
